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   IT IS ORDERED as set forth below:



   Date: July 20, 2022

                                            _____________________________________
                                                       Wendy L. Hagenau
                                                  U.S. Bankruptcy Court Judge

_______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                          :          CHAPTER 7
                                                :
KEIDRA AIESHA ALI-GADSON,                       :          CASE NO. 19-59740-WLH
                                                :
         Debtor.                                :
                                                :


   ORDER APPROVING TRUSTEE’S FINAL REPORT AND APPLICATIONS FOR
 COMPENSATION AND REIMBURSEMENT OF EXPENSES OF THE TRUSTEE AND
                 PROFESSIONALS OF THE TRUSTEE

         On June 10, 2022, the Chapter 7 Trustee (“Trustee”) for the bankruptcy estate of Keidra

Aiesha Ali-Gadson, filed applications for payment of compensation in the amount of $10,953.93

and expenses in the amount of $59.48 to the Chapter 7 Trustee [Doc. No. 97-1], compensation in

the amount of $6,400.50 and expenses in the amount of $450.64 to Arnall Golden Gregory LLP,

the Chapter 7 Trustee’s counsel [Doc. No. 97-2], and compensation in the amount of $2,040.00

and expenses in the amount of $93.10 to Hays Financial Consulting, LLC, the Chapter 7

Trustee’s accountants [Doc. No. 97-3] (collectively, the “Fee Applications”).



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        Also on June 10, 2022, Trustee filed his Trustee’s Final Report (TFR) [Doc. No. 97] (the

“Trustee’s Final Report”) in which he proposed to make certain distributions to creditors,

including the above mentioned professionals.

        On June 14, 2022, Trustee filed two notices [Doc. Nos. 101 and 102] (collectively, the

“Notices”) regarding the Fee Applications and Trustee’s Final Report, in accordance with the

Second Amended and Restated General Order No. 24-2018 and setting the Fee Applications and

Trustee’s Final Report for hearing on July 28, 2022 (the “Hearing”).

        Trustee certifies that he served the Notices on all creditors and parties in interest entitled

to notice. [Doc. No. 103].

        No objection to the relief requested in the Fee Applications or Trustee’s Final Report was

filed prior to the objection deadline provided in the Notices and pursuant to the Second Amended

and Restated General Order No. 24-2018.

        The Court having considered the Fee Applications and Trustee’s Final Report along with

all other matters of record, including the lack of objection to the relief requested in the Fee

Applications and Trustee’s Final Report, and, based on the forgoing, finding that no further

notice or hearing is necessary; and, the Court having found that good cause exists to grant the

relief requested in the Fee Applications and Trustee’s Final Report, it is hereby

         ORDERED that the Fee Applications and Trustee’s Final Report are APPROVED and

this approval is made final. It is further

        ORDERED that the fees and expenses requested are allowed as compensation and

reimbursement of expenses as follows:

               Applicant                     Docket       Fees        Expenses           Total
                                              No.
 S. Gregory Hays, Chapter 7 Trustee           97-1     $10,953.93        $59.48          $11,013.41



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 Arnall Golden Gregory LLP,                97-2      $6,400.50     $450.64          $6,851.14
 attorneys for Chapter 7 Trustee
 Hays Financial Consulting, LLC,           97-3      $2,040.00      $93.10          $2,133.10
 accountants for Chapter 7 Trustee

It is further

        ORDERED that Trustee is authorized and directed to pay said compensation and

reimbursement of expenses approved herein based on available funds and as expressly set forth

in Trustee’s Final Report.

                                     [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

By:/s/ Michael J. Bargar
       Michael J. Bargar
       Georgia Bar No. 645709
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Identification of parties to be served:

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Keidra Aiesha Ali-Gadson, PO Box 1284, Redan, GA 30074

Rushi D. Patel, The Patel Law Group, LLC, 1995 N. Park Pl. SE, Ste 565, Atlanta, GA 30339

S. Gregory Hays, Hays Financial Consulting, LLC, 2964 Peachtree Rd, NW, Suite 555, Atlanta,
GA 30305

Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, GA
30363




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